  Case 1:20-mc-00207-RPK Document 4 Filed 03/17/20 Page 1 of 2 PageID #: 15




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Ismet Kukic,

                          Petitioner,
                                                               MEMORANDUM AND ORDER

                 -against-                                     20-MC-207 (RPK)

United States of America,


                          Respondent.
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RACHEL P. KOVNER, United States District Judge:

        Petitioner Ismet Kukic, a/k/a Ismet Kukaj, who pleaded guilty in 2002 to one count of

conspiracy to defraud the United States in violation of 18 U.S.C. § 371, brings this action seeking

to seal and/or expunge the record of that criminal conviction on equitable grounds, based

principally on subsequent rehabilitation. This Court lacks the authority to grant that relief.

        In Doe v. United States of America, 833 F.3d 192 (2d Cir. 2016), the Second Circuit

considered whether district courts have jurisdiction to grant requests—like the one here—to seal

or expunge the records of valid criminal convictions on equitable grounds. Id. at 195 & 196 n.1.

The court held that district courts lack that jurisdiction, in the absence of a statutory grant of

expungement authority. Id. at 195. The court noted that while Congress had authorized courts to

expunge lawful convictions “under certain limited circumstances,” Congress had “failed to provide

for jurisdiction under the circumstances” in Doe. Id. at 199.

        Doe establishes that this Court cannot expunge petitioner’s valid conviction on equitable

grounds in the absence of a statute authorizing the Court to do so. Neither petitioner nor the

government has identified a statute that authorizes expungement in these circumstances. And the

Court has not found such a statute. Accordingly, the Court concludes that it lacks jurisdiction and

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  Case 1:20-mc-00207-RPK Document 4 Filed 03/17/20 Page 2 of 2 PageID #: 16




must dismiss this action. See Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998)

(“Jurisdiction is power to declare law, and when it ceases to exist, the only function remaining to

the court is that of announcing the fact and dismissing the cause.”) (quoting Ex Parte McCardle,

74 U.S. 506, 514 (1868)).

                                          CONCLUSION

         Petitioner’s motion is dismissed due to the absence of jurisdiction. The Clerk of Court is

directed to close this case.

         SO ORDERED.

                                              /s/ Rachel Kovner
                                              RACHEL P. KOVNER
                                              United States District Judge

Dated:          Brooklyn, New York
                March 17, 2020




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